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                            SO UTH ERN D ISTR ICT O F FL O R ID A

                     CA SE N O .19-14085-C IV-R O SEN BER G N A YN A >

  TO W N H O U SE RESTA UR ANT O F O V IED O ,IN C.
  AN D ESTER O BA Y H O TE L CO .,

  Plaintiffs,

 V.

  NU C O Z,LLC ,

  D efendant.
                                                           /

          O R DER D ENY IN G PLA IN TIFFS'ORE TEN US M O TIO N TO CO M PEL
        IN-PERSON DEPOSITIONS IDE 901IN LIG HT OF COVID-19 PANDEM IC

         TH IS C AU SE com es before this Courtupon Plaintiffs'ore tenus M otion to Com pel1n-

  PersonDepositions(DE 901madeatthehearingonMay4,2020.Atthehearing,Plaintiffsmoved
  to com pelin-person depositions ofseveralindividualsw ho are currently scheduled fordeposition

  next week. Plaintiffs'counselsaid they had experienced difficulties w ith the rem ote deposition

  platfonu and expressedconcern thattheirclasscertification motion wouldbeprejudiced ifthey
  are prohibited from conducting in-person depositions given the anticipated adversarialnature of

  theupcom ing depositions.Defendantopposedthemotion,arguingthatdepositionsshouldbedone

  through videoconference in light of the Center for Disease Control and Prevention's

  recomm endationsaboutsocialdistancing and advice againsttravelling outside oflocalareasdue

  to COV lD -19. Fourofthe deponents reside in differentpartsofFlorida,and three live outside of

  the state. Plaintiffs'counselproposed to conductthe depositions ofthe Florida residents in Palm

  Beach County.
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         ln assessingPlaintiffs'request,theundersigned'sforem ostconcern isthewell-being ofall

  stakeholders. This Courttherefore denies Plaintiffs' ore tenus M otion to Compelln-person

  Depositions for severalreasons. First,Palm Beach County rem ains closed by order of the

  GovernorofFlorida due to the COVID-19 pandemic. Second,Defendant'scounselofrecord -

  M r.M allin - resides in M issouriand prefersnotto traveloutofstate dtlring thispandem ic.Third,

  although Plaintiffs'counselmay be willing to travelfrom Birm ingham,Alabama to conductthe

  depositionsinotherstates,witnessesand otherattorneysinvolvedm aystillpreferto lim itexposure

  to others, particularly those who have traveled across state lines, in light of the CDC'S

  recommendationsthatpeople stay athomeasmuch aspossible,especially ifthetrip (ortravel
  outside the localarea)isnotessential. The partiesarealso reminded thatthey may requesta
  continuancefrom thedistrictjudge assigned to thiscaseto conductthesedepositionsatalater
  date,butany such requestmustdescribe with specificity the nature ofthe obstacle and why the

  altem ativeofremote depositionsdoesnotsuffice.

         This Courtappreciatesthe concerns expressed by Plaintiffs'counselaboutthe challenges

  he has experienced conducting remote depositions. ln an effortto address these concerns,this

  Courtordersthatthefollowing rulesshallapply to each remotevideo conferencedeposition:

         The applicable Federal Rules of Civil Procedure and S.D . Fla. Local Rules shall be
         followed ata1ltim es. This includes,butis notlim ited to,the prohibition on speaking
         objectionsandprohibitedcontactwithawitnessduringthecourseofadeposition.
         Thecourtreporterforadeposition conductedviavideo conferencemayadm inistertheoath
         oraffirm ation to the deponentrem otely.

         Nootheratlendeesotherthanthepartiestothesubjectlawsuit,theirrepresentativecounsel,
         and counselfor the witness,shallbe allowed to participaie in the video conference
         deposition w ithout prior consent of al1 counsel. This includes appearing individually
         w ithin the video conference platfonu and/or being present w ithin the room w here the
         attendee is view ing the video conference deposition.



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    4. Thecourtreporter'stranscriptshallserveastheofficialrecord ofthe witness'stestimony.
       Should circumstancesarisewhich rendersthecourtreporter'stranscriptunavailable,then
       a new transcriptcan be created by use ofthe video recording ofthe deposition.

    5. A ny deposition taken by m eans of video conference shall be conducted using Zoom ,
       W ebEx ora similarvideoconferencing platform equipped with the ability to video record
       thedeposition.Thecourtreportershallserveasthehostofthevideoconferenceasprovided
       by the videoconferencing platform .

    6. Asthehostofthevideo conference,the courtreportershallvideo recordthewitnessusing
       therecording function ofthevideoconferencing platform .Alternatively,ifa videographer
       is provided by the courtreporting service,such videographerm ay controlthe recording
       ftm ction oftheplatform .Thecourtreporterorvideographer,asthe casem ay be,shallalso
       announce each tim e he/she has activated and deactivated the record function on the
       videoconferencing platfonn.ln addition,any party may at its discretion arrange for an
       independentvideographer to video record the deposition by m eans other than the video-
       recordingfunction oftheplatform. Thepartyhiringany such independentvideographeris
       responsibleforthecostsofdoing so andm ustmakecopiesofthevideo recordingavailable
       to al1counselattheirexpense.

        The video recording ofthe deposition created by use ofthe recordinj function ofthe
        videoconferencing platfonn shallbe deem ed the equivalentofa video recording m adeby
        a videographerand shallbe available foruse in trialasthough prepared by a videographer.

     8. No participant in the deposition may utilize the ûschat''function (or similar private
        communicationfunction)ofthevideo-conferenceplatfonn,excepttofacilitatethesharing
        ofdocum entsduring the deposition. ln no eventshalltheûûchat''function beused forany
        counselto com m unicate directly w ith the w itness.

        Atno tim e during the deposition shallany counseltext,m essage,em ail,ortransmitany
        messagestothewitnesstes)inordertohelprespondtoanyanda11questions.
     10.Before the w itness is sw om ,allcellphones shallbe placed in the silentm ode.A llparties
        andcounselwilldisablenotificationson theirdevicesto avoid disruption oftheaudioand
        video stream duringthedeposition.

     11.Thewitnessand a11counselorpartiesappearing on therecord shallstatetheirappearances
        clearly fortherecord,and they shallnotdisabletheircam erasduringthedeposition unless
        there isa break orunlessthey are necessarily appearing by telephone.

     12.A lldocum ents or otherexhibits,exceptthose to be used forim peachm ent,shallbe shared
        witha11counselnolaterthantwo(2)dayspriortothedepositionand saiddocumentsshall
        bebate-stamped,marked asexhibits,orboth.No laterthan ohe(1)businessdaypriorto
        the deposition all docum ents shallbe provided to the courtreporting service. Those
        docum ents or other exhibits used for im peachm ent m ustbe shared w ith a11participants
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        when introduced on therecord viatheshare screen,orsim ilarfeatureon theplatform and
        attached asan exhibitto the deposition.

     13.Intheunlikely eventthatawitnesscnnnotaccesstheZoom ,W ebEx orsim ilarplatfonn or
        iftheconnection islost,thedeposition may proceed viaZoom orW ebEx and the witness
        participate telephonically.

        Further,the partiesare rem inded thatifdifficultiesarise during a remote deposition that

 cannotberesolved bytheparties,counselforeitherparty m ay contacttheundersigned magistrate

 judge'schambersbyphoneduringthedepositionforassistanceinresolvingthematter.
         Itistherefore,ORDERED AND ADJUDGED thatthereliefrequested by Plaintiffs'ore

 tenus M otion is D ENIED . Plaintiffs shallconductthe scheduled depositions through a rem ote

 platform to meetthedeadline setby the districtcourt.ltisfurther,

        ORDERED AND ADJUDGED thatthepartiesandwitnessesshallcomply with thenzles

  setforth above.

        DO NE AND ORDERED in Cham bersatFortPierce,Florida,this5th day ofM av,2020.



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